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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                    UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                                                    (For Offenses Committed On or After November 1, 1987)
              V.
                                                                       Case Number: 25cr0467-DDL
                    Miguel Eusebio Alejandro
                                                                    Stephanie Kim, Federal Defenders of San Diego, Inc.
                                                                    Defendant’s Attorney
USM Number                           15996506
☐ _
THE DEFENDANT:
☒ pleaded guilty to count(s)          One of the Information

☐ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                    Nature of Offense                                                                Number(s)


8 USC 1325(a)(1)                 Attempted Improper Entry by an Alien (Misdemeanor)                                       1




    The defendant is sentenced as provided in pages 2 through                 2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒ Count(s)         underlying                                 is          dismissed on the motion of the United States.

      Assessment : $10.00
☒     Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is
      waived and remitted as uncollectible.
☐ JVTA Assessment*: $
      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
☒ No fine                       ☐ Forfeiture pursuant to order filed                                           , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                    February 20, 2025
                                                                    Date of Imposition of Sentence



                                                                    HON. DAVID D. LESHNER
                                                                    UNITED STATES MAGISTRATE JUDGE
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   DEFENDANT:             Miguel Eusebio Alejandro                                               Judgment - Page 2 of 2
   CASE NUMBER:           25cr0467-DDL

                                                     PROBATION
The defendant is hereby sentenced to probation for a term
of: One Year Unsupervised

                                           MANDATORY CONDITIONS
1. The defendant must not commit any federal, state or local crime.
2. The defendant must not unlawfully enter or attempt to enter the United States.
3. The defendant must report to Probation within 24 hours of entering the United States.




                                                                                                      25cr0467-DDL
